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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

                                              )
    UNITED STATES OF AMERICA                  )
                                              )
    v.                                        )
                                              ) CRIMINAL NO. 15-00102-CG-B
    DSD SHIPPING, A.S.,                       )
    DANIEL PAUL DANCU,                        )
    BO GAO,                                   )
    XIAOBING CHEN, and                        )
    XIN ZHONG                                 )
                                              )
                      Defendants.             )

                                         ORDER

              This matter is before the Court on DSD Shipping, A.S.’s motion to

    dismiss certain counts of the indictment and to compel an election of certain

    multiplicitous counts (Doc. 131) and the United States’ response (Doc. 145).

    Three other Defendants, Xiobing Chen (Doc. 132), Xin Zhong (Doc. 136), and

    Daniel Paul Dancu (Doc. 140), filed motions to adopt the motion to dismiss.

    The Court granted the motions to adopt as to Xiabong Chen and Xin Zhong

    (Doc. 139) and Daniel Paul Dancu (Doc. 141).1 For the reasons stated herein,

    Defendants’ motion is due to be DENIED.

         I.      BACKGROUND

              On November 3, 2014 and November 12, 2014, the M/T Stavanger

    Blossom docked at the Port of Lake Charles, Louisiana and the Plains



    1 DSD Shipping, A.S., Xiobing Chen, Xin Zhong, and Daniel Paul Dancu are

    hereinafter collectively referred to as “Defendants.”
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    Terminal in Mobile, Alabama, respectively. (Doc. 145, p. 2). The M/T

    Stavanger Blossom is a 56,172 gross ton ocean-going oil tanker sailing under

    the flag of Singapore. Id. DSD Shipping, A.S. owns the M/T Stavanger

    Blossom. Id. At both stops Defendants made available their Oil and Garbage

    Record Books to the Coast Guard. Id.

          Based on information received from a crewmember, the Mobile division

    of the Coast Guard found it necessary to investigate undocumented oil-

    contaminated bilge water and plastic discharge of the M/T Stavanger

    Blossom. The alleged discharges were reported to have occurred while the

    M/T Stavanger Blossom was on the high seas. The Coast Guard found no

    entries recording any direct discharges of oily-water in the Oil Record Book.

    Id. Instead, the Coast Guard found that the Chief Engineer and Fourth

    Engineer recorded in the Oil Record Book that the vessel discharged bilge

    waste using the proper pollution control device. Also, the Coast Guard found

    no entries regarding plastic discharge on the high seas in the Garbage Record

    Book. Id. The Coast Guard uncovered further evidence alleging that senior

    engine department officers obstructed the Coast Guard’s investigation by

    urging subordinate crewmembers to withhold information and lie to Coast

    Guard inspectors. Id.

          Based upon the Oil and Garbage Record Books, investigation, and crew

    interviews, the Coast Guard issued two detainable deficiencies for inaccurate

    Oil and Garbage Record Books and routinely discharging large quantities of




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    untreated oil-contaminated bilge wastes directly into the ocean.

          On April 30, 2015, a federal grand jury returned a seven-count

    indictment (hereinafter, the “Alabama Indictment”) against Defendants.

    (Doc. 1). The Alabama Indictment includes charges of conspiracy (18 U.S.C. §

    371), the knowing failure to maintain an accurate Oil Record Book and

    Garbage Record Book (33 U.S.C. § 1908(a)), obstruction of justice (18 U.S.C.

    §§ 1505 and 1519), and witness tampering (18 U.S.C. § 1512(b)).

    Subsequently, on June 11, 2015, a federal grand jury for the Western District

    of Louisiana returned a three-count indictment (hereinafter, “Louisiana

    Indictment”) against Defendants, which includes charges of the knowing

    failure to maintain an accurate Oil Record Book (33 U.S.C. § 1908(a)),

    obstruction of justice (18 U.S.C. §§ 1505 and 1519), and aiding and abetting

    (18 U.S.C. § 2). (C.N. 15-cr-179-CB-B, Doc. 1, Exh. 2).

          In the present motion, Defendants raise three arguments. (Doc. 131).

    First, Defendants argue that both indictments fail to state a violation upon

    which the United States can prosecute because the alleged discharges and

    failure to document took place on the high seas. Id. at 10. Second,

    Defendants argue that certain counts within both indictments fail to provide

    adequate notice of essential facts necessary to prepare a defense. Id. at 27.

    Third, Defendants argue that, in the alternative, the Court should compel the

    United States to elect the charges it seeks to pursue due to multiplicity. Id.

    at 28. The Court disagrees with each argument and will address each in




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    turn.

       II.      THE ACT TO PREVENT POLLUTION FROM SHIPS

                A. Jurisdiction of the United States Under the Act to
                   Prevent Pollution from Ships

             A “district court [is] required to dismiss [an] indictment if it fails to

    allege facts that constitute a prosecutable offense.” United States v. Cure,

    804 F.2d 625, 627 (11th Cir. 1986). Thus, the issue is whether the United

    States has jurisdiction to prosecute either the alleged unauthorized discharge

    that occurred on the high seas or any attendant record book violations that

    occurred at that time, or whether the United States has jurisdiction to

    enforce its laws regarding the alleged false statements contained within the

    record books made available to the Coast Guard during Defendants’ entries

    into the Port of Lake Charles, Louisiana and the Port of Mobile Alabama.

    Based on the following, the Court answers the later in the affirmative.

             The 1973 International Convention for the Prevention of Pollution

    from Ships and the Protocol of 1978 Relating to the International Convention

    for the Prevention of Pollution from Ships are two treaties generally referred

    to as “MARPOL.” MARPOL’s regulations are implemented under the Act to

    Prevent Pollution from Ships (hereinafter, the “APPS”), 33 U.S.C. §§ 1901 to

    1905. The APPS makes acts in violation of MARPOL, the APPS, or “the

    regulations issued thereunder” unlawful. 33 U.S.C. § 1907(a). The APPS

    also provides criminal sanctions for knowing violations. 33 U.S.C. § 1908(a).

             In order to police certain actions, the APPS requires that each vessel



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    maintain record books. Two such record books are relevant to this case.

    First, the APPS states that “[e]ach oil tanker of 150 gross tons and above . . .

    shall maintain an Oil Record Book.” 33 C.F.R. § 151.25(a). A ship’s crew is

    required to make entries into an Oil Record Book whenever there is disposal

    of oil residue, 33 C.F.R. § 151.25(d)(3), or “[d]ischarge overboard or disposal

    otherwise of bilge water that has accumulated in machinery spaces,” 33

    C.F.R. § 151.25(d)(4). Each event “shall be fully recorded without delay in

    the Oil Record Book . . . [and] signed by the person or persons in charge of the

    operations concerned.” 33 C.F.R. § 151.25(h). The Oil Record Book is to be

    maintained and kept so that it is “readily available for inspection.” 33 C.F.R.

    § 151.25(j), (k).

           Second, the APPS requires that each vessel maintain a written record

    of the garbage “[d]ischarge[d] into the sea.” 33 C.F.R. § 151.55(a). When

    garbage is discharged into the sea, the Garbage Record Book must indicate

    the date and time of the discharge, longitude and latitude of the ship,

    category of garbage involved, and estimated amount of garbage discharged.

    33 C.F.R. § 151.55(d). Recordation in the Garbage Record Book applies to

    plastics, operational wastes, and other specifically listed wastes a vessel may

    generate. 33 C.F.R. § 151.55(e).2

           Defendants aver that when these provisions use the word “maintain,”


    2 The Oil Record Book and Garbage Record Book are two separate records to

    be maintained. However, the rules and analysis for both are substantively
    the same. Therefore, the term record book is used interchangeably and
    applies to both unless specified otherwise.

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    it merely recites “what types of vessels are required to keep Oil and Garbage

    Record Books.” (Doc. 131, p. 16). Any substantive duties relating to the

    books are included later in the regulation. Id. at 19. In other words,

    Defendant advances the notion that physical possession is all that is required

    and accuracy of the entry is not a consideration in maintaining the required

    record book. (Doc. 148, p. 6) (“Properly understood, the word ‘maintain’

    simply means to keep, and it is used merely to define what types of vessels

    must keep record books.”). Additionally, Defendants argue that a record book

    violation is only completed upon failing to make an entry, which would bar

    prosecution by the United States if such an entry were required on the high

    seas. (Doc. 131, p. 15). Thus, the only option the United States would have

    in such a situation is to refer the matter to the flag state. Id. at 17. Such an

    interpretation ignores the most natural reading of the statute and strains

    credulity.

          “In the context of a regulation imposing record-keeping requirements,

    the duty to ‘maintain’ plainly means a duty to ‘maintain’ a reasonably

    complete and accurate record.” United States v. Ionia Mgmt. S.A., 555 F.3d

    303, 309 (2d Cir. 2009) (emphasis in original). “[I]gnoring the duty to

    [accurately] maintain puts the regulation at odds with MARPOL and

    Congress’ clear intent under the APPS to prevent pollution at sea according

    to MARPOL.” United States v. Jho, 534 F.3d 398, 403 (5th Cir. 2008). “If the

    record books did not have to be [accurately] ‘maintained’ while in the ports or




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    navigable waters of the Unites States, then a foreign-flagged vessel could

    avoid application of the record book requirements simply by falsifying all of

    its record book information just before entry into a port or navigable waters.”

    Id.

          Thus, a violation of Section 151.25 or Section 151.55 of the APPS

    occurs when entry is made into United States waters with a fictitious record

    book made available for inspection and not when the pollution itself, or even

    the record book violation, occurs. See Id. at 404 (“[T]he ‘gravamen’ of the

    action was “not the pollution itself, or even the Oil Record Book violation

    occurring at that time, but the misrepresentation in port.”); Ionia, 555 F.3d at

    309 (holding that the APPS’s requirement that ships “maintain” an Oil

    Record Book, 33 C.F.R. § 151.25, mandates that these ships “ensure that

    their ORBs are accurate (or at least not knowingly inaccurate) upon entering

    the ports or navigable waters of the United States”); see also United States v.

    Sanford, Ltd., 880 F. Supp. 2d 9, 19 (D.D.C. 2012) (holding the same); United

    States v. Petraia Mar., Ltd., 483 F. Supp. 2d 34, 39 (D. Me. 2007) (holding the

    same).

          Although there are no Eleventh Circuit opinions directly on point, the

    Court finds the holding and reasoning of United States v. Royal Caribbean

    Cruises, Ltd., 11 F. Supp. 2d 1358 (S.D. Fla. 1998), persuasive. In Royal

    Caribbean, the United States indicted Royal Caribbean with violation of 18

    U.S.C. § 1001 for making a false statement within an Oil Record Book




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    regarding an oil discharge that occurred on the high seas. 11 F. Supp. 2d at

    1361. Section 1001 makes it a crime to knowingly and willfully falsify, make

    any materially false representation, or make use of any false writing

    “knowing the same to contain any materially false” statements. 18 U.S.C. §

    1001(a).

          Like Defendants, Royal Caribbean argued that, because the duty to

    make entries under the APPS “occurs at the time of discharge, and the

    discharge” occurred on the high seas, jurisdiction was improper. Id. at 1363.

    Thus, Royal Caribbean argued that the United States could not prosecute it

    for making available within the waters of the United States fictitious entries

    made without the jurisdiction of the United States. Id. The court was not

    persuaded by this argument and held that “the fact that the alleged false

    statement . . . was not made within the jurisdictional bounds of the United

    States is not necessarily fatal to the claim,” and that “even if the statement is

    arguably true at the time it was made in the location it was made, if the

    statement is false as a matter of United States law and fulfills the other

    requirements” of the crime charged, “it is actionable.” Id. The court went on

    to hold that whether the United States could prosecute actions on the high

    seas had no bearing on whether the United States had “jurisdiction to enforce

    its laws [in a domestic port] regarding the commission of false statements

    made to a United States agency performing its regular and proper duties.”

    Id. at 1364.




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            Here, on or about November 3, 2014, the M/T Stavanger Blossom

    entered United States waters and made port in Lake Charles, Louisiana.

    While in port, Defendants made available to the Coast Guard their record

    books. On or about November 12, 2014, the M/T Stavanger Blossom made

    port in Mobile, Alabama. Again, Defendants again made available to the

    Coast Guard the same record books. In both instances, the Coast Guard was

    performing its regular and proper duties. Based on a crewmember’s email

    and subsequent investigation, the Coast Guard uncovered evidence alleging

    that the crew failed to document exceptional discharges of oil-contaminated

    bilge waste, sludge disposal, and plastic discharge in the requisite record

    books. Nonetheless, Defendants record books indicated that no such action

    occurred.

            The fact hat any discharge or disposal took place on the high seas is of

    no consequence. Defendants have not been indicted with the actual discharge

    or failure to document the entry at the time of discharge. What is of

    consequence, like in Royal Caribbean, is whether Defendants made entry into

    the waters of the United States with fictitious record books and made said

    record books available to the Coast Guard. Such a failure to maintain is

    tantamount to an action under 18 U.S.C. § 1001(a), and the desired effect by

    a perpetrator is the same—impairment of the Coast Guard’s ability to

    conduct investigations and enforce violations of the APPS within a domestic

    port.




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           Thus, the Court holds that prosecutorial jurisdiction is proper in this

     matter. To find to the contrary would “raise serious questions about the

     government’s ability to enforce, as a mater of domestic law, false statements

     made in connection with such matters as bank fraud, immigration, and visa

     cases, where false statements at issue were made outside of the United

     States” and declared within as truthful and accurate. Royal Caribbean, 11 F.

     Supp. 2d at 1364.

               B. Extraterritorial application of the Act to Prevent
                  Pollution from Ships

        Even if the above conclusion is wrong, there is an alternative basis for

     upholding jurisdiction for the indicted record book counts and obstruction of

     justice counts. “Congress unquestionably has the authority to enforce its

     laws beyond the territorial boundaries of the United States.” United States

     v. Plummer, 221 F.3d 1298, 1304 (11th Cir. 2000). “Federal criminal statutes

     may properly include extraterritorial effects.” Id. (citing United States v.

     Baker, 609 F.2d 134, 136 (5th Cir.), reh’g denied, 613 F.2d 314 (1980)).

     Deciding whether Congress has applied a statute extraterritorially is a

     matter of statutory construction. Id. The Supreme Court articulated the

     analysis for deciding the extraterritorial application of a law in United States

     v. Bowman, 260 U.S. 94 (1922). Bowman stated, in relevant part:

           The necessary locus [of the crime], when not specially defined,
           depends upon the purpose of Congress as evinced by the
           description and nature of the crime and upon the territorial
           limitations upon the power and jurisdiction of a government to
           punish crime under the law of nations. Crimes against private



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           individuals or their property, like assaults, murder, burglary,
           larceny, robbery, arson, embezzlement, and frauds of all kinds,
           which affect the peace and good order of the community must, of
           course, be committed within the territorial jurisdiction of the
           government where it may properly exercise it. If punishment of
           them is to be extended to include those committed outside of the
           strict territorial jurisdiction, it is natural for Congress to say so
           in the statute, and failure to do so will negative the purpose of
           Congress in this regard. But the same rule of interpretation
           should not be applied to criminal statutes which are, as a class,
           not logically dependent on their locality for the government’s
           jurisdiction, but are enacted because of the right of the
           government to defend itself against obstruction, or fraud
           wherever perpetrated, especially if committed by its own citizens,
           officers, or agents. Some such offenses can only be committed
           within the territorial jurisdiction of the government because of
           the local acts required to constitute them. Others are such that
           to limit their locus to the strictly territorial jurisdiction would be
           greatly to curtail the scope and usefulness of the statute and
           leave open a large immunity for frauds as easily committed by
           citizens on the high seas and in foreign countries as at home. In
           such cases, Congress has not thought it necessary to make
           specific provision in the law that the locus shall include the high
           seas and foreign countries, but allows it to be inferred from the
           nature of the offense.


     Id. at 97–98. The Eleventh Circuit has interpreted Bowman as establishing

     that the congressional intent for the extraterritorial application of a criminal

     statute can be inferred. Plummer, 221 F.3d at 1305. Such congressional

     intent has been routinely inferred when foreign offenses cause domestic

     harm. See United States v. MacAllister, 160 F.3d 1304, 1305 (11th Cir. 1998)

     (conspiracy to traffic cocaine from the United States to Canada); United

     States v. Benitez, 741 F.2d 1312, 1316–17 (11th Cir. 1984) (conspiracy to

     murder government agents and assault of government agents abroad);

     Petraia, 483 F. Supp. 2d at 38–39 (failure to maintain an accurate Oil Record



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     Book and intentional obstruction of the APPS). The extraterritorial doctrine

     has also been applied in the context of a foreign-flagged vessel’s violation of

     domestic laws on the high seas. See United States v. Padilla-Martinez, 782

     F.2d 942, 950 (11th Cir. 1985) (applying domestic law to a foreign-flagged

     vessel seized on the high seas); Petraia, 483 F. Supp. 2d at 38–39 (applying

     domestic law to a foreign-flagged vessel’s failure to maintain an Oil Record

     Book and intentional attempts to obstruct the administration of law).

           Defendants, however, argue that 33 U.S.C. § 1908 record book statutes

     as well as 18 U.S.C. §§ 1505 and 1519 obstruction statutes do not apply

     extraterritorially. (Doc. 131, pp. 21, 23); (Doc. 148, 9–13). Defendants

     contend Congress must “clearly express” an “affirmative intention” to

     overcome the presumption that a law does not extraterritorially apply and

     explains that “there is no hint, let alone an affirmative expression, in the text

     or legislative history that Congress intended” these statutes to apply

     extraterritorially. (Doc. 148, p. 10).3 Defendants’ argument fails to consider



     3 Defendants cite three Supreme Court cases in furtherance of their

     extraterritoriality position. (Doc. 131, pp. 21, 23–25) (citing E.E.O.C. v.
     Arabian Am. Oil Co., 499 U.S. 244 (1991); Morrison v. National Australia Bank
     Ltd., 561 U.S. 247 (2010); and Arthur Andersen LLP v. United States, 544 U.S.
     696 (2005) for the proposition that the extraterritoriality doctrine only applies
     when congressional intent is clearly expressed). The Court finds that these
     cases lend no help in today’s decision for three reasons. First, Arabian Am. Oil
     and Morrison were both civil cases. The present case is criminal. Second,
     although Arthur Andersen LLP was a criminal case, the issue there was
     whether jury instructions failed to properly convey the elements of the crime
     charged. Arthur Andersen LLP did not deal with extraterritoriality at all.
     Third, none of these cases required the Court to consider the exception the
     Bowman case articulated for criminal cases, which is discussed herein.

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     the nature and domestic effect the criminal statutes in question target.

           First, the failure to properly maintain a record book, 33 U.S.C §

     1908(a), is not logically dependent upon the borders of the United States.

     Regardless of where the entry is made, the ultimate goal of the entry is for it

     to be considered by the Coast Guard and have effect in the United States. If

     fictitious and accepted, such an entry undermines not only the authority of

     the Coast Guard but the laws under which it operates.

           Likewise, the obstruction statutes, 18 U.S.C. §§ 1505 and 1519, apply

     extraterritorially because such foreign offenses cause domestic harm and are

     not logically dependent on their locality. Obstruction of justice is not a crime

     against a “private individual or their property.” See United States v. Vilar,

     729 F.3d 62, 72 (2d Cir. 2013) (declining to apply Section 10(b) of the

     Securities and Exchange Act extraterritorially where the government is not

     harmed by the actions) (citing Morrison v. National Australia Bank Ltd., 130

     S. Ct. 2869 (2010)). Instead, the law in question is aimed at protecting “the

     right of the government to protect itself.” Bowman, 260 U.S. at 98. If

     Defendants were not attempting to obstruct the execution United States laws

     at both ports, why else would Defendants allegedly direct the crew to

     disconnect the bypass pipe, install a new spool pipe, and paint the new pipe

     to hid its recent installation? It matters not if the actions in questions took

     place two miles off the United States’ coast or two miles off Singapore’s coast.

     The intentions would be the same: to make the Coast Guard none the wiser




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     as to Defendants’ alleged attempts to subvert detection while conducting

     business within the United States’ borders. To limit the application of either

     statute creates the ability for perpetrators to operate with impunity and

     undermines the Coast Guard’s ability to enforce the duty with which it is

     entrusted. Such a result is surely not what Congress had in mind.

           Finding the statutes in question apply extraterritorially, it is necessary

     to evaluate whether such application violates the general principles of

     international law. MacAllister, 160 F.3d at 1308. If the objective territorial

     principle of international law is satisfied, the extraterritorial application of a

     law does not violate general principles of international law. Id. “The

     objective territorial principle applies where the defendant’s actions [ ]

     produced some effect in the United States.” Id. In the present case,

     Defendants’ actions were intended to usurp any investigation the Coast

     Guard conducted and take advantage of United States ports. Defendants’

     alleged conduct causes domestic harm. The Court concludes that the

     objective territorial approach permits extraterritorial application of the law.

           Therefore, as an alternative basis, 33 U.S.C. § 1908 and 18 U.S.C. §§

     1505 and 1519 extraterritorially apply because the harm protected against

     has domestic effects, and the crimes do not depend their location for the

     offense to occur.

        III.   SUFFICIENCY OF THE INDICTMENT

           Defendants further aver that “Counts 1 through 5 of the Alabama




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     Indictment and Counts 1 through 3 of the Louisiana Indictment fail to

     provide” adequate notice of the essential facts necessary to their defense.

     (Doc. 131, p. 27). More specifically, Defendants claim that the “charges fail to

     include basic facts about when [the] allegedly false entries and omissions

     were made over a three month timeframe—from August 5, until November

     12, 2015.” Id.

           “An indictment is considered legally sufficient if it: (1) presents the

     essential elements of the charged offense, (2) notifies the accused of the

     charges to be defended against, and (3) enables the accused to rely upon a

     judgment under the indictment as a bar against double jeopardy for any

     subsequent prosecution for the same offense.” United States v. Jordan, 582

     F.3d 1239, 1245 (11th Cir. 2009). “In determining whether an indictment is

     sufficient, we read it as a whole and give it a ‘common sense construction.’”

     Id. (citing United States v. Gold, 743 F.2d 800, 813 (11th Cir. 1984) and

     United States v. Markham, 537 F.2d 187, 192 (5th Cir. 1976)). “If the

     indictment tracks the language of the statute, it must be accompanied with

     such a statement of the facts and circumstances as will inform the accused of

     the specific offense, coming under the general description, with which he is

     charged.” United States v. Bobo, 344 F.3d 1076, 1083 (11th Cir. 2003)

     (internal quotations omitted).

           Here, reading the indictment as a whole and giving it common sense

     construction, both the Alabama Indictment and the Louisiana Indictment




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     meet the required factual standard. The Alabama Indictment lays out the

     legal framework regarding the entries to be made to an Oil Record Book and

     Garbage Record Book. (Doc. 1, pp. 5–6). Further, Counts Two and Three of

     the Alabama Indictment charge Defendants with failing to maintain records

     of overboard discharges in their record books on or about November 12, 2014

     in the Port of Mobile, Alabama. Id. at pp. 12–13. Count One of the Louisiana

     Indictment significantly tracks the language of the Alabama Indictment but

     makes reference to November 3, 2014, the date Defendants made available

     the record books in the Port of Lake Charles Louisiana. See Louisiana

     Indictment, pp. 8–9.

        Such a statement of facts puts Defendants on notice of the exact dates in

     question, November 3, 2014 and November 12, 2014. The fact that the

     indictment makes reference to the time period leading up to Defendants’

     presentment of the records does not, as Defendants argue, allow the

     government to “rely on any of hundreds of possible events that occurred

     during a three-month span.” (Doc. 131, p. 28). As discussed above, the only

     events in question are Defendants’ entries into United States waters and

     Defendants’ making available for inspection at each port their record books.

     Therefore, the Court finds that the indictments provide Defendant with the

     facts necessary to prepare its defense.

        IV.      MULTIPLICITY

              Last, Defendants ask that the Court order the United States to elect




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     among allegedly multiplicitous charges, then dismiss and strike the

     unelected charges. Id. In support, Defendants contend, “Counts 1, 2, and 3 of

     the Louisiana Indictment are substantively identical to the charges contained

     in Counts 2, 4, and 6, respectively, of the Alabama Indictment.” The Court

     finds this argument unpersuasive.

           “An indictment is multiplicitous if it charges a single offense in more

     than one count.” U.S. v. Woods, 684 F.3d 1045, 1060 (11th Cir. 2012). A

     multiplicitous indictment “violates double jeopardy principles by giving the

     jury more than one opportunity to convict the defendant for the same

     offense.” United States v. Jones, 601 F.3d 1247, 1258 (11th Cir. 2010). “To

     assess whether the two offenses charged separately in the indictment are

     really one offense charged twice, the ‘same elements’ test or the ‘Blockburger’

     test is applied.” United States v. Chacko, 169 F.3d 140, 146 (2d Cir. 1999).

     “[C]harges in an indictment are not multiplicitous if the charges differ by

     even a single element or alleged fact.” Woods, 684 F.3d at 1060.

           In the present case, the indictments are not multiplicitous because the

     two indictments contain alleged facts that are different. More specifically,

     Defendants entered two geographically distinct domestic ports. The Alabama

     Indictment charges Defendants with failing to maintain their record books

     and making such books available in the Port of Mobile, Alabama. The

     Louisiana Indictment charges Defendants with similar conduct but within

     the Port of Lake Charles, Louisiana. As noted above, the basis of the two




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     indictments is “not the pollution itself, or even the Oil Record Book violation

     occurring [in international waters], but the misrepresentation in port.” Jho,

     534 F.3d at 404 (internal quotation marks omitted). Thus, Defendants’

     alleged acts are two different acts realized within two different jurisdictions.

     This satisfies the Court that the counts in each indictment are unique and do

     not expose Defendants to multiplicitous counts.4

        V.     CONCLUSION

        Based on the foregoing, Defendants’ motion to dismiss (Doc. 131) is hereby

     DENIED.

     DONE and ORDERED this 15th day of September, 2015.

                                             /s/ Callie V. S. Granade
                                             UNITED STATES DISTRICT JUDGE




     4 Defendants’ argument of continuing offenses (Doc. 138, p. 18) fails for the

     same reason. The crux of the indictment is the entry into two unique ports
     and making available the fictitious entries in each record book and not
     simply the lingering effect of an earlier completed act.

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